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     8                               UNITED STATES DISTRICT COURT
     9                              CENTRAL DISTRICT OF CALIFORNIA
   10
         GEORGIA BABB, et al.                              CASE NO. 8:18-cv-00994-JLS-DFM
   11
   12                 Plaintiffs,
   13                                                      ORDER GRANTING DEFENDANTS’
              vs.                                          MOTION TO DISMISS (Doc. 63)
   14
   15 CALIFORNIA TEACHERS
   16 ASSOCIATION, et al.;
   17                 Defendants.
   18
   19
         SCOTT WILFORD, et al.                              CASE NO. 8:18-cv-1169-JLS-DFM
   20
   21                 Plaintiffs,                           ORDER GRANTING DEFENDANTS’
                                                            MOTION TO DISMISS (Doc. 163)
   22         vs.
   23
         NATIONAL EDUCATION
   24
         ASSOCIATION, et al.;
   25
   26                 Defendants.

   27               (caption continued on next page)

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         TINA MATTHEWS, et al.,                  CASE NO. 2:18-cv-06793-JLS-DFM
     1
     2               Plaintiffs,
     3                                           ORDER GRANTING DEFENDANTS’
               vs.                               MOTION TO DISMISS (Doc. 27)
     4
     5 UNITED TEACHERS LOS ANGELES, et
     6 al.;
     7               Defendants.
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     9
   10 MICHAEL MARTIN, et al.,                    CASE NO. 2:18-cv-08999-JLS-DFM

   11
                     Plaintiffs,
   12                                            ORDER GRANTING DEFENDANTS’
   13          vs.                               MOTIONS TO DISMISS (Docs. 59 &
                                                 61)
   14 CALIFORNIA TEACHERS
   15 ASSOCIATION, et al.;
   16
                     Defendants.
   17
   18
   19
         THOMAS FEW,                             CASE NO. 2:18-cv-09531-JLS-DFM
   20
   21                Plaintiff,
                                                 ORDER GRANTING DEFENDANT’S
   22
               vs.                               MOTION TO DISMISS (Doc. 43)
   23
   24 UNITED TEACHERS LOS ANGELES, et
         al;
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   26                Defendants.
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     2          The above captioned cases all involve the Supreme Court’s decision in Janus v.
     3 AFSCME Council 31, 138 S. Ct. 2448 (2018) and its effect on public sector unions in
     4 California. Having read and considered the papers and heard oral argument, the Court
     5 GRANTS in their entirety the following motions filed by the various Defendants 1 in each
     6 case:
     7      • Babb v. California Teachers Ass’n, No. 8:18-cv-00994-JLS-DFM: Motion to
     8          Dismiss and for Judgment on the Pleadings, and in the Alternative for Summary
     9          Judgment (Babb Mem., Doc. 63) filed by the California Teachers Association,
   10           National Education Association, and United Teachers of Los Angeles; 2
   11       • Wilford v. National Education Ass’n, No. 8:18-cv-1169-JLS-DFM: Motion to
   12           Dismiss and for Judgment on the Pleadings, and in the Alternative for Summary
   13           Judgment (Wilford Mem., Doc. 163) filed by American Federation of Teachers,
   14           California Federation of Teachers, California Teachers Association, Certificated
   15           Hourly Instructors, Long Beach City College Chapter, Coast Federation of
   16           Educators, Local 1911, Community College Association, Exeter Teachers
   17           Association, Mt. San Antonio College Faculty Association, Inc., National Education
   18           Association, Orange Unified Education Association, Saddleback Valley Educators
   19           Association, Sanger Unified Teachers Association, Savanna District Teachers
   20
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   24      Nearly all of the moving Defendants are teachers’ unions. After identifying the specific
      unions in each case, the Court will thereafter collectively refer to the teachers’ unions as “the
   25 Union Defendants.”
   26       2
          Plaintiffs Georgia Babb, John J. Frangiamore Jr., William Happ, Aaron Holbrook, Michelle
      Pecanic-Lee, David Schmus, and Abram van der Fluit opposed (Babb Opp., Doc. 77) and the
   27 Union Defendants replied (Babb Reply, Doc. 78).
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     1            Association, and South Orange County Community College District Faculty
     2            Association; 3
     3      • Matthews v. United Teachers Los Angeles, No. 2:18-cv-06793-JLS-DFM: Motion
     4            to Dismiss and for Judgment on the Pleadings, and in the Alternative for Summary
     5            Judgment (Matthews Mem., Doc. 27) filed by California Teachers Association,
     6            National Education Association, San Diego Education Association, and United
     7            Teachers Los Angeles; 4
     8      • Martin v. California Teachers Ass’n, No. 2:18-cv-08999-JLS-DFM: Motion to
     9            Dismiss (Martin State Mem., Doc. 59) filed by Eric Banks, Xavier Becerra, Arthur
   10             A. Krantz, Erich Shiners, and Priscilla Winslow (the “State Defendants”) 5; Motion
   11             to Dismiss (Martin Union Mem., Doc. 61) filed by California Teachers Association,
   12             National Education Association, and Riverside City Teachers Association; 6 and
   13       • Few v. United Teachers Los Angeles, No. 2:18-cv-09531-JLS-DFM: Motion to
   14             Dismiss Count II (Few Mem., Doc. 43) filed by United Teachers Los Angeles. 7
   15
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   19       3
           Plaintiffs Scott Wilford, Bonnie Hayhurst, Rebecca Friedrichs, Michael Monge, Harlan
   20 Elrich, Jelena Figueroa, and Gene Gray opposed (Wilford Opp., Doc. 169) and the Union
      Defendants replied (Wilford Reply, Doc. 170).
   21
            4
                Plaintiffs Tina Matthews and Paul Tessaro opposed (Matthews Opp., Doc. 33) and the Union
   22 Defendants replied (Matthews Reply, Doc. 37).
   23       5
          Plaintiffs Lori Bonner, Philip David Glick, Kimberly Jolie, and Michael Martin opposed
   24 (Martin State Opp., Doc. 79) and the State Defendants replied (Martin State Reply, Doc. 85.)
            6
   25        Plaintiffs opposed (Martin Union Opp., Doc. 78) and the Union Defendants replied (Martin
         Union Reply, Doc. 87).
   26
            7
                Plaintiff Thomas Few opposed (Few Opp., Doc. 48) and United Teachers Los Angeles
   27 replied (Few Reply, Doc. 49.)
   28
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     1     I. BACKGROUND
     2
     3         On June 27, 2018, the Supreme Court decided Janus and overruled Abood v. Detroit
     4 Board of Education, 431 U.S. 209 (1977) and its progeny, holding that no form of payment
     5 to a union, including agency fees, can be deducted or attempted to be collected from an
     6 employee without the employee’s affirmative consent. Janus, 138 S. Ct. at 2486.
     7         The Plaintiffs in Babb are current or former public-school teachers who refused to
     8 join teachers’ unions because they disapproved of their political advocacy and collective-
     9 bargaining activities. (Babb Third Amended Complaint ¶¶ 14–20, Doc. 90.) Prior to
   10 Janus, the Plaintiffs were required to pay agency fees to the unions as a condition of their
   11 employment. (Id.) See Cal. Gov. Code § 3546(a). Plaintiffs allege that the compulsory
   12 collection of agency fees violates Janus. (Babb Third Amended Complaint ¶ 21.)
   13 Plaintiffs bring federal claims for relief for violation of the First Amendment pursuant to
   14 42 U.S.C. § 1983 and the Declaratory Judgment Act, 28 U.S.C. § 2201, and California
   15 state law claims for conversion, trespass to chattels, replevin, unjust enrichment, and
   16 restitution. (Id. ¶¶ 41–42.) Plaintiffs seek two forms of relief: (1) that compulsory agency
   17 fees be declared unconstitutional and enjoined; and (2) that the Union Defendants be
   18 required to repay all agency fees they received before Janus. (Id. ¶ 43 c–j.) The Union
   19 Defendants move to dismiss all claims. (See Babb Mem. at 1.)
   20          Wilford is, for the purposes of the pending motions, identical to Babb. The Wilford
   21 Plaintiffs are also non-union teachers who allege that the compulsory collection of agency
   22 fees is unconstitutional after Janus. (Wilford First Amended Complaint ¶¶ 1–7, 25–29,
   23 Doc. 155.) They also bring federal claims for violation of the First Amendment pursuant
   24 to § 1983 (id. ¶¶ 41–47), and state law claims for conversion (id. ¶¶ 48–51) and restitution
   25 (id. ¶¶ 52–57). Further, as in Babb, the Wilford Plaintiffs seek an order enjoining the
   26 future collection of agency fees (id. Demand for Relief ¶ C) and requiring the Union
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     1 Defendants to repay all agency fees received prior to Janus (id. ¶ D). The Union
     2 Defendants move to dismiss all claims. (See Wilford Mem. at 1.)
     3         Matthews is very similar to Wilford and Babb, as the Matthews Plaintiffs are non-
     4 union teachers who allege that compulsory collection of agency fees is unconstitutional
     5 after Janus. (Matthews Complaint ¶¶ 16, 18–19, Doc. 1-1.) However, the Matthews
     6 Plaintiffs bring no federal claims for relief, but rather claims for unfair competition under
     7 California’s Unfair Competition Law (“the UCL”) (id. ¶¶ 35–45); conversion (id. ¶¶ 46–
     8 51); trespass to chattels (id. ¶¶ 52–57); unjust enrichment (id. ¶¶ 58–61); and money had
     9 and received (id. ¶¶ 62–65). As with Babb and Wilford, the Matthews Plaintiffs seek to
   10 enjoin the future collection of agency fees (id. Prayer for Relief ¶ 6) and to order the Union
   11 Defendants to repay all agency fees received prior to Janus (id. ¶ 2). The Union
   12 Defendants move to dismiss all claims. (See Matthews Mem. at 1.)
   13          Martin is different from Matthews, Wilford, and Babb in significant respects.
   14 Plaintiffs are public-school teachers who were union members prior to Janus but resigned
   15 thereafter. (See Martin First Amended Complaint at 2–3, Doc. 47.) The Martin Plaintiffs’
   16 first claim is, similar to Babb, Wilford, and Matthews, that compulsory collection of
   17 agency fees violates the First Amendment. (Id. ¶¶ 15–26.) Some Plaintiffs allege that they
   18 would not have joined the union or would have resigned earlier if not for the agency fee
   19 requirement, while others claim that “they were led to believe that union membership was
   20 a mandatory condition of their employment” and “were never informed of their
   21 constitutional right to quit the union.” (Id. ¶¶ 17–19.) As part of first claim, Plaintiffs seek
   22 declaratory and injunctive relief to prevent the future collection of agency fees (id. ¶ 84) as
   23 well as “refunds equal to the amount of the [agency fees] that [the Union Defendants]
   24 extracted from [Plaintiffs] regardless of whether they stayed in the union or resigned” (id.
   25 ¶ 24). Plaintiffs’ second claim is that their First Amendment rights were violated because,
   26 while they were union members, they had to opt out of making a $20 annual payment to
   27 the Union Defendants if they did not wish to make the payment. (Id. ¶¶ 27–42.) Plaintiffs
   28
                                                      6
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     1 seek injunctive relief to prevent the Union Defendants from continuing to charge the $20,
     2 as well as retrospective relief for the funds paid while they were members. (Id. ¶¶ 39–42.)
     3 With their third claim, Plaintiffs challenge the federal and state constitutionality of
     4 California Government Code § 3558, which provides for public school employers to share
     5 with unions that represent their employees the contact information of bargaining unit
     6 employees whom the unions represent, unless the employee has requested that his or her
     7 contact information not be shared. (Id. ¶¶ 43–56.) The fourth claim is asserted only by
     8 Plaintiff Martin and alleges that California Education Code § 45060 violates the First
     9 Amendment because it provides that a union member must send a letter to the union, rather
   10 than to the employer, if the union member wishes to terminate membership dues
   11 deductions. (Id. ¶¶ 57–64.) Plaintiffs’ fifth claim alleges that collective bargaining
   12 through an exclusive representative violates the First Amendment. (Id. ¶¶ 65–74.) Finally,
   13 the sixth claim is asserted only by Plaintiff Martin and alleges that the collective
   14 bargaining agreements between California school districts and the Union Defendants
   15 violate federal antitrust laws. (Id. ¶¶ 75–81, 89.)
   16          The Union Defendants move to dismiss all of the Martin Plaintiffs’ claims except
   17 the portion of the second claim that seeks retrospective monetary relief. (Martin Union
   18 Mem. at 1.) Plaintiffs have consented to dismissal of their fifth claim, as well as to
   19 dismissal of the prospective portions of their first and second claim. (Martin Union Opp.
   20 at 4, 23, 35.) Further, the State Defendants separately move to dismiss claims one and
   21 four. (Martin State Mem. at 1.)
   22          Finally, the Plaintiff in Few is a public-school teacher in the Los Angeles Unified
   23 School District. (Few First Amended Complaint ¶ 14, Doc. 38.) Few brings two claims
   24 for relief, and United Teachers of Los Angeles seeks to dismiss only his second claim,
   25 which alleges that collective bargaining through an exclusive representative violates the
   26 First Amendment. (See id. ¶¶ 53–64; Few Mem. at 1.) Few’s second claim is identical to
   27 the Martin Plaintiffs’ fifth claim.
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     1         On February 13, 2019, the Court granted the California Attorney General’s request
     2 to intervene in Wilford, Babb, and Matthews to defend the constitutionality of California
     3 Government Code § 1159. (Intervention Order in Babb, Doc. 72.) While the
     4 constitutionality of § 1159 is also relevant to Martin, the Attorney General was already a
     5 party to Martin, as noted above. Pursuant to the Court’s Order, the Attorney General filed
     6 opening briefs in Wilford, Babb, Matthews, and Martin, the Plaintiffs in each case filed a
     7 response, and the Attorney General and Union Defendants filed replies. (See id.)
     8 However, the parties essentially filed one set of briefs in Wilford and simply incorporated
     9 those briefs by reference in their briefs in Babb, Matthews, and Martin. Thus, for ease of
   10 reference, to the extent the Court refers to the briefs filed pursuant to the Intervention
   11 Order, the Court will simply refer to the Wilford briefs. (See AG Opening Brief, Doc. 174;
   12 Plaintiffs’ Opposition to AG, Doc. 175; AG Reply, Doc. 180; Union AG Reply, Doc. 181.)
   13
   14      II. LEGAL STANDARD
   15
   16          In deciding a motion to dismiss under Rule 12(b)(6), courts must accept as true all
   17 “well-pleaded factual allegations” in a complaint. Ashcroft v. Iqbal, 556 U.S. 662, 679
   18 (2009). Furthermore, courts must draw all reasonable inferences in the light most
   19 favorable to the non-moving party. See Daniels-Hall v. Nat’l Educ. Ass’n, 629 F.3d 992,
   20 998 (9th Cir. 2010). However, “courts ‘are not bound to accept as true a legal conclusion
   21 couched as a factual allegation.’” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007)
   22 (quoting Papasan v. Allain, 478 U.S. 265, 286 (1986)). The complaint must contain
   23 “sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible on its
   24 face.’” Iqbal, 556 U.S. at 678 (quoting Twombly, 550 U.S. at 570). “A claim has facial
   25 plausibility when the pleaded factual content allows the court to draw the reasonable
   26 inference that the defendant is liable for the misconduct alleged.” Id. (citing Twombly, 550
   27 U.S. at 556). Although a complaint “does not need detailed factual allegations,” the
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     1 “[f]actual allegations must be enough to raise a right to relief above the speculative level . .
     2 . .” Twombly, 550 U.S. at 555. Thus, a complaint must (1) “contain sufficient allegations
     3 of underlying facts to give fair notice and to enable the opposing party to defend itself
     4 effectively[,]” and (2) “plausibly suggest an entitlement to relief, such that it is not unfair
     5 to require the opposing party to be subjected to the expense of discovery and continued
     6 litigation.” Starr v. Baca, 652 F.3d 1202, 1216 (9th Cir. 2011).
     7
     8      III.   DISCUSSION
     9
   10          First, as is relevant to Wilford, Babb, Matthews, and Martin, the Union Defendants
   11 argue that the Plaintiffs’ claims for prospective relief from the compulsory collection of
   12 agency fees are moot because Defendants are fully complying with Janus and have no
   13 intention of doing otherwise. (See Babb Mem. at 3.)
   14          Second, as is relevant to Wilford, Babb, and Martin, the Union Defendants argue
   15 that they are entitled to a good-faith defense to Plaintiffs’ § 1983 claims for a refund of
   16 agency fees because the Union Defendants “received the fees in compliance with
   17 California statutes and then-controlling and directly on-point United States Supreme Court
   18 precedent that expressly authorized [agency] fees.” (See Wilford Mem. at 1.)
   19          Third, as is relevant only to Martin, the Union Defendants argue that the
   20 membership dues the Martin Plaintiffs paid while union members were voluntarily paid
   21 and thus not compelled pursuant to Janus. (Martin Union Mem. at 8.)
   22          Fourth, as is relevant to Wilford, Babb, Matthews, and Martin the Union Defendants
   23 argue that the Plaintiffs’ state law claims are preempted by the Educational Employment
   24 Relations Act (“EERA”) and California Government Code § 1159. (See Wilford Mem. 11,
   25 13.)
   26          Fifth, as is relevant only to Martin, the Union Defendants argue that Government
   27 Code § 3558, which requires school districts to disclose all of their employees’ contact
   28
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  1 information to the Union Defendants, does not violate the First Amendment. (Martin
  2 Union Mem. at 22.)
  3          Sixth, as is relevant only to Martin, the Union and State Defendants argue that
  4 Martin does not have standing to challenge Education Code § 45060, which requires
  5 employees to direct their resignation requests to the union, rather than their employers,
  6 because his resignation has already been processed. (Martin Union Mem. at 30; Martin
  7 State Mem. at 7.)
  8          Seventh, as is relevant only to Martin, the Union Defendants argue that Martin’s
  9 antitrust claim must be dismissed because, for multiple reasons, the “purportedly
 10 anticompetitive conduct here falls entirely outside the scope of federal antitrust law.”
 11 (Martin Union Reply at 13.)
 12          Finally, as is relevant only to Few, 8 United Teachers Los Angeles argues that Few’s
 13 claim that exclusive representation violates the First Amendment is foreclosed by
 14 Minnesota State Board for Community Colleges v. Knight, 465 U.S. 271 (1984). (Few
 15 Mem. at 6.)
 16
 17      A. Mootness of Claims for Prospective Relief (Babb, Wilford, Martin, and
 18          Matthews)
 19
 20          This Court has twice held that claims for prospective relief to prevent the collection
 21 of agency fees post-Janus are moot. See Yohn v. California Teachers Ass’n, Case No.
 22 SACV 17-202-JLS-DFM, 201 8 WL 5264076 (C.D. Cal. Sept. 28, 2018); Babb v.
 23 California Teachers Ass’n, Case No. 8:18-cv-00994-JLS-DFM, 2018 WL 7501267 (C.D.
 24 Cal. Dec. 7, 2018) (dismissing claims for prospective relief against state defendants as
 25
 26      8
           As noted above, although the Martin Plaintiffs bring an identical claim, they consent to its
      dismissal pursuant to Knight. (Martin Union Opp. at 35.)
 27
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  1 moot). The claims for prospective relief in Wilford, Babb, Matthews, and Martin are
  2 indistinguishable, and the Union Defendants have again submitted declarations attesting to
  3 their commitment to no longer enforce California Government Code § 3546 and to fully
  4 comply with Janus. 9 Indeed, the Martin Plaintiffs admit that their claims for prospective
  5 relief are moot “in light of the [Union Defendants’] demonstrated compliance with Janus
  6 and their iron-clad promise to comply with Janus going forward.” (Martin Union Opp. at
  7 4.) Further, every other district court to consider this issue has found claims for
  8 prospective relief moot after Janus. See, e.g., Cook v. Brown, 364 F. Supp. 3d 1184, 1188
  9 (D. Or. 2019); Carey v. Inslee, 364 F. Supp. 3d 1220, 1225–27 (W.D. Wash. 2019);
 10 Danielson v. Inslee, 345 F. Supp. 3d 1336, 1339–40 (W.D. Wash 2018).
 11            Accordingly, the Union Defendants’ Motions to Dismiss the Plaintiffs’ claims for
 12 prospective relief are GRANTED. 10
 13
 14      B. Section 1983 Good-Faith Defense (Babb, Wilford, and Martin)
 15
 16            “The threshold question of whether the good faith defense is available to private
 17 parties in § 1983 actions has been answered affirmatively by the Ninth Circuit.” Cook v.
 18 Brown, 364 F. Supp. 3d at 1190. In Clement v. City of Glendale, 518 F.3d 1090 (9th Cir.
 19 2008), the court held that the defendant towing company could assert a good faith defense
 20
 21
         9
             See Pan Decl. in Babb ¶¶ 3–4, 7–10, Doc. 63-9; Mar Decl. in Babb ¶¶ 4–15, Doc. 63-6; Pan
 22 Decl. in Wilford ¶¶ 3–4, 7–10, Doc. 163-8; Schneiderman Decl. in Wilford ¶¶ 2–6, Doc. 163-6;
      Pan Decl. in Matthews ¶¶ 3–4, 7–10, Doc. 27-5; Mar Decl. in Matthews ¶¶ 4–15, Doc. 27-8; Pan
 23 Decl. in Martin ¶¶ 3–4, 7–10, Doc. 61-7.
 24    10
             The Wilford Plaintiffs suggest that their refunds for fees paid prior to Janus for post-Janus
 25 pay periods were incorrectly calculated. (See Wilford Opp. at 3–4.) The Pan Reply Declaration
      (Doc. 170-1) appears to answer their questions regarding the refund process, and regardless,
 26 whether the refunds were properly calculated is “not properly before the Court.” See Lamberty v.
      Conn. St. Police Union, No. 3:15-CV-378 (VAB), 2018 WL 5115559, at *9 (D. Conn. Oct. 19,
 27 2018).
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  1 to § 1983 liability where the plaintiff alleged that the towing company unconstitutionally
  2 seized her vehicle without notice. Id. at 1097. Clement “acknowledged that the Supreme
  3 Court in Wyatt v. Cole and again in Richardson v. McKnight had held open whether private
  4 defendants could avail themselves of the good faith defense in a § 1983 action.” Cook,
  5 364 F. Supp. 3d at 1190–91 (citing Clement, 518 F.3d at 1096–97; Wyatt v. Cole, 504 U.S.
  6 158, 169 (1992) (“[W]e do not foreclose the possibility that private defendants faced with
  7 § 1983 liability . . . could be entitled to an affirmative defense based on good faith.”);
  8 Richardson v. McKnight, 521 U.S. 399, 413–14, (1997) (“Wyatt explicitly stated that it did
  9 not decide whether or not the private defendants before it might assert, not immunity, but a
 10 special ‘good-faith’ defense . . . we do not express a view on this last-mentioned
 11 question.”)). Wyatt recognized that “principles of equity and fairness may suggest . . . that
 12 private citizens who rely unsuspectingly on state laws they did not create and may have no
 13 reason to believe are invalid should have some protection from liability.” 504 U.S. at 168.
 14         In Clement, the Ninth Circuit held that “the facts of this case justify allowing [the
 15 towing company] to assert such a good faith defense.” Clement, 518 F.3d at 1097.
 16 Specifically, the court noted that the towing company “did its best to follow the law” and
 17 that the “tow was authorized by the police department, conducted under close police
 18 supervision and appeared to be permissible under both local ordinance and state law.” Id.
 19 Further, “[a]lthough not entirely consistent in their approaches, every circuit court to
 20 address the question has held that some type of good faith defense is available to private
 21 parties sued for constitutional violations.” Carey, 364 F. Supp. 3d at 1228 (citing Pinsky v.
 22 Duncan, 79 F.3d 306, 311–12 (2d Cir. 1996); Vector Research, Inc. v. Howard & Howard
 23 Attorneys, P.C., 76 F.3d 692, 698–99 (6th Cir. 1996); Jordan v. Fox, Rothschild, O'Brien
 24 & Frankel, 20 F.3d 1250, 1275–78 (3d Cir. 1994)).
 25         On indistinguishable facts, every district court to consider whether unions that
 26 collected agency fees prior to Janus have a good-faith defense to § 1983 liability have
 27 answered in the affirmative. See, e.g., Danielson v. AFSCME Council 28, 340 F. Supp. 3d
 28
                                                   12
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  1 1083, 1084–87 (W.D. Wash. 2018); Cook, 364 F. Supp. 3d at 1190–94; Carey, 364 F.
  2 Supp. 3d at 1227–1233; Crockett v. NEA-Alaska, 3:18-CV-00179 JWS, 2019 WL
  3 1212082, at *3–6 (D. Alaska March 14, 2019); Janus v. AFSCME Council 31, Case No. 15
  4 C 1235, 2019 WL 1239780, at *1–3 (N.D. Ill. March 18, 2019); Hough v. SEIU Local 521,
  5 No. 18-CV-04902-VC, 2019 WL 1785414 (N.D. Cal. Apr. 16, 2019); Lee v. Ohio
  6 Education Association, et al., No.1:18CV1420, 2019 WL 1323622, *2–3 (N.D. Ohio Mar.
  7 25, 2019). The Court finds these courts’ reasoning persuasive and applicable here.
  8         The Union Defendants argue that they collected agency fees from Plaintiffs “at a
  9 time when California [statutes] and controlling U.S. precedent expressly allowed the
 10 collection of such fees.” (See Babb Mem. at 9.) Indeed, this Court has acknowledged that
 11 “prior to Janus, [the Unions] were merely following the 40-year-precedent of Abood.”
 12 Yohn, 2018 WL 5264076, at *4. Plaintiffs argue that the good-faith defense should not
 13 apply because: (1) the most analogous common law tort to their § 1983 claims, conversion,
 14 rejects any consideration of the tortfeasor’s state of mind; (2) the good-faith defense
 15 extends only to individuals and not entities; (3) Union Defendants cannot establish good
 16 faith unless they present evidence of their subjective states of mind; (4) the Union
 17 Defendants must prove that they complied with Abood to avail themselves of the good-
 18 faith defense; (5) the good-faith defense is inapplicable to claims for equitable relief such
 19 as backpay, restitution, and unjust enrichment; and (6) they are seeking the return of
 20 unconstitutionally seized property (the agency fees they paid prior to Janus) and not
 21 “collateral” damages stemming from the seizure. (See Babb Opp. at 1–2.)
 22
 23         1. Common Law Tort Analogy
 24
 25         Plaintiffs argue that Wyatt “compels courts to look to the most analogous common-
 26 law tort, and it allows courts to recognize a defense only if that tort would have conferred
 27 similar immunities when section 1983 was enacted.” (Babb Opp. at 3–4.) Plaintiffs claim
 28
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  1 that “[t]he common-law tort most analogous to the union’s unconstitutional confiscation of
  2 wages is conversion, and conversion is a strict-liability tort that is unconcerned with
  3 whether the defendant acted in good faith.” (Id. at 4.) Plaintiffs’ argument fails for a
  4 number of reasons.
  5           First, as the Union Defendants note, the portion of Wyatt from which Plaintiffs
  6 derive their “rule” dealt with immunity from § 1983 liability, not the good-faith defense.
  7 (See Babb Reply at 4.) See Wyatt, 504 U.S. at 164 (“If parties seeking immunity were
  8 shielded from tort liability when Congress enacted [§ 1983] we infer from legislative
  9 silence that Congress did not intend to abrogate such immunities when it imposed liability
 10 for actions taken under color of state law.”) (emphasis added); see also Carey, 364 F.
 11 Supp. 3d at 1229 (“[W]hile [Wyatt] did discuss common law analogues in dicta, that
 12 discussion was largely in reference to the history of qualified immunity.”)
 13           Second, “Plaintiffs’ construction of the good faith defense lacks precedent in the
 14 Ninth Circuit.” Danielson, 340 F. Supp. 3d at 1086. Clement gives no indication that
 15 courts must analyze a common law analogue to apply the good-faith defense. See
 16 Clement, 518 F.3d at 1097. Further, “[i]nsofar as courts have analyzed the common law
 17 analogue to a plaintiff’s § 1983 claim, none have done so to bar the good faith defense.”
 18 Carey, 364 F. Supp. 3d at 1229–30 (citing Pinsky, 79 F.3d at 312 (discussing Wyatt and
 19 finding that the § 1983 claim was analogous to malicious prosecution)); Franklin v. Fox,
 20 No. C 97-2443 CRB, 2001 WL 114438, at *6 (N.D. Cal. Jan. 22, 2001) (noting that the
 21 claim for violation of the Sixth Amendment right to counsel “is not easily analogized to
 22 the common law torts of malicious prosecution or abuse of process” for purposes of
 23 determining which party bears the burden but applying the good faith defense anyway)). 11
 24
 25
 26      11
          Plaintiffs’ proposed rule also fails “because affirmative defenses need not relate to or rebut
    specific elements of an underlying claim.” Cook, 364 F. Supp. 3d at 1191 (citing Jarvis v. Cuomo,
 27 660 F. Appx. 72, 75–76 (2d Cir. 2016)).
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  1         Third, even assuming “the ‘common law analogue’ requirement from Wyatt does
  2 apply, conversion is not the most closely analogous common law claim.” Danielson, 340
  3 F. Supp. 3d at 1086. Indeed, conversion “does not account for the fact that Plaintiffs’
  4 constitutional claim is rooted in the First Amendment.” Carey, 364 F. Supp. 3d at 1230.
  5 “Conversion involves taking another’s property, regardless of intent, whereas the
  6 gravamen of the First Amendment claim in this case is that the Union Defendant[s]
  7 expended compelled agency fees on political and ideological activities that Plaintiffs
  8 oppose.” Danielson, 340 F. Supp. 3d at 1086. In other words, Plaintiffs’ First
  9 Amendment claim turns not upon the Union Defendants’ receipt of Plaintiffs’ property, but
 10 upon the dignitary harm resulting from being compelled to support speech with which they
 11 disagree. See id. Thus, the Court agrees with the other courts that have held that
 12 Plaintiffs’ claims are most similar to dignitary torts, such as defamation, or to abuse of
 13 process because the Union Defendants used government processes to collect agency fees.
 14 Id.; Carey, 364 F. Supp. 3d at 1230; Cook, 364 F. Supp. 3d at 1191; Crockett, 2019 WL
 15 1212082, at *5. “Because these torts do have scienter requirements,” even under Plaintiffs’
 16 proposed rule, the good-faith defense is available to the Union Defendants. Carey, 364 F.
 17 Supp. 3d at 1230.
 18
 19         2. Application of Good-Faith Defense to Entities
 20
 21         Plaintiffs next argue that the good-faith defense applies only to individuals, not
 22 entities such as the Union Defendants. (See Babb Opp. at 9.) Plaintiffs again conflate
 23 qualified immunity with the good-faith defense and argue that because qualified immunity
 24 applies only to individual officials, not government entities, the Union Defendants cannot
 25 avail themselves of the good-faith defense. (Id. at 9–10.) However, the controlling case
 26 law in this Circuit – Clement – allowed a private towing company to assert the good-faith
 27 defense. See 518 F.3d at 1097. Accordingly, the Court rejects Plaintiffs’ argument.
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  1         3. Subjective Belief
  2
  3         Plaintiffs next argue that, if the good-faith defense applies, the Union Defendants
  4 have the burden to show their subjective state of mind, and Plaintiffs should be given the
  5 opportunity for discovery on this issue. (Babb Opp. at 14.) Further, Plaintiffs argue that
  6 the Union Defendants cannot rely on Abood to establish their belief that agency-fee
  7 collection was lawful because the Supreme Court issued “warnings” that collecting agency
  8 fees was “constitutionally dubious.” (Id. at 16.) See also Janus, 138 S. Ct. at 2485
  9 (“[A]ny public-sector union seeking an agency-fee provision in a collective-bargaining
 10 agreement must have understood that the constitutionality of such a provision was
 11 uncertain.”) Indeed, as Danielson notes, “the subjective state of mind of a party asserting
 12 good faith is a common inquiry in cases discussing the defense.” 340 F. Supp. 3d at 1086;
 13 see Clement, 518 F.3d at 1097 (concluding that towing company “did its best to follow the
 14 law and had no reason to suspect that there would be a constitutional challenge to its
 15 actions”).
 16         Although the Supreme Court may have hinted in dicta that it would eventually
 17 overrule Abood, “reading the tea leaves of Supreme Court dicta has never been a
 18 precondition to good faith reliance on governing law.” Cook, 364 F. Supp. 3d at 1192.
 19 For the 40 years prior to Janus, agency fee collection was constitutional pursuant to
 20 Abood. Thus, “[a]ny subjective belief [the Union Defendants] could have had that [Abood]
 21 was wrongly decided and should be overturned would have amounted to telepathy.”
 22 Danielson, 340 F. Supp. 3d at 1086. Further, even assuming that the Union Defendants
 23 did expect Abood to be overruled, “such an expectation cannot produce subjective belief in
 24 unconstitutionality when [they are] also aware that the prior holding has not been
 25 overruled.” Carey, 364 F. Supp. 3d at 1229. Moreover, in the qualified immunity context,
 26 state officials are entitled to rely on Supreme Court precedent even if that precedent’s
 27 reasoning has been questioned; applying a higher standard to private individuals would be
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  1 inequitable. See Cook, 364 F. Supp. 3d at 1193 (citing Davis v. United States, 564 U.S.
  2 229, 241 (2011) (declining to apply exclusionary rule to evidence generated in searches
  3 that were consistent with then-binding case law because police were entitled to rely on that
  4 precedent, even though its reasoning had been questioned); Pinsky, 79 F.3d at 313 (“[I]t is
  5 objectively reasonable to act on the basis of a statute not yet held invalid.”)); see also
  6 Wyatt, 504 U.S. at 168 (finding that good-faith defense is based on “principles of equity
  7 and fairness”).
  8         Thus, the Court concludes that the Union Defendants need not produce evidence of
  9 their subjective belief that agency fee collection was constitutional.
 10
 11         4. Compliance with Abood
 12
 13         Next, Plaintiffs argue that the Union Defendants must prove that they complied
 14 with Abood in order to assert a good-faith defense and that Plaintiffs are entitled to take
 15 discovery on this issue. (Babb Opp. at 20.) The Union Defendants argue that Plaintiffs
 16 have not alleged that they failed to comply with Abood and, regardless, a claim “that [the
 17 Union Defendants] received fees not permitted by Abood would be a different claim on
 18 behalf of a different class.” (Babb Reply at 12.)
 19         The Court agrees with the other district courts that have found this argument
 20 unavailing. See Crockett, 2019 WL 1212082, at *6; Carey, 364 F. Supp. 3d at 1232.
 21 Here, just as in Carey, the Babb Plaintiffs have amended their Second Amended
 22 Complaint to “re-state the legal argument contained in their Opposition brief.” 364 F.
 23 Supp. 3d at 1232. (See Babb Third Amended Complaint ¶ 29.) However, even with the
 24 amendment, the Babb Plaintiffs still do not allege that the Union Defendants failed to
 25 comply with Abood. (See Babb Third Amended Complaint ¶ 29 (“[The Union
 26 Defendants’ must [] show that they complied with pre-Janus case law.”) Further, even if
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  1 they had alleged failure to comply, the Third Amended Complaint provides no facts to
  2 support such an allegation.
  3         In short, Plaintiffs’ lawsuits are not about whether the Union Defendants complied
  4 with Abood. Thus, “[t]heir argument that discovery is needed on a different claim for
  5 different relief on a different class before the court can apply the good-faith defense simply
  6 does not track.” Crockett, 2019 WL 1212082, at *6.
  7
  8         5. Application to Equitable Claims
  9
 10         Plaintiffs also argue that the good-faith defense does not apply to their equitable
 11 claims for relief. (Babb Opp. at 22.) Plaintiffs again rely on cases involving qualified
 12 immunity, not the good-faith defense, for this argument. (Id.) Even assuming the rule
 13 from qualified immunity cases applies to the good-faith defense, “[a] plaintiff may not
 14 circumvent qualified immunity or the good faith defense simply by labeling a claim for
 15 legal damages as one for equitable restitution.” Carey, 364 F. Supp. at 1232 (citing Lenea
 16 v. Lane, 882 F.2d 1171, 1178–79 (7th Cir. 1989) (“Regardless of what label is placed on
 17 the monetary relief which Lenea wants, ‘equitable’ or ‘legal damages,’ it remains a
 18 personal monetary award out of the official’s own pocket.”)).
 19         The Court agrees with Crockett and Carey, both of which concluded that Plaintiffs’
 20 demand that the Union Defendants “refund” their agency fee payments sounds in law, not
 21 equity. The Plaintiffs’ agency fees “paid for [the] ongoing costs of representation” and
 22 “[t]here is no segregated fund to which Plaintiffs’ payments can now be traced, and
 23 therefore any relief would be paid from the Union Defendants’ general assets.” Crockett,
 24 2019 WL 1212082, at *5. A “personal claim against the defendant’s general assets . . . is a
 25 legal remedy, not an equitable one.” Id. (quoting Montanile v. Board of Trustees, 136 S.
 26 Ct. 651, 658 (2016)).
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  1          6. Return of Unconstitutionally Seized Property
  2
  3          Finally, Plaintiffs argue that the monetary relief they seek is qualitatively different
  4 from what they term “collateral damages” and more akin to the return of unconstitutionally
  5 seized property. As such, Plaintiffs argue that a good faith defense is unavailable, and that
  6 whenever property is unconstitutionally taken, even if in good-faith reliance on a long-
  7 standing decision of the United States Supreme Court, it must be returned. (See Martin
  8 Opp. at 1.) Although mentioned only briefly in their Opposition (id.), at oral argument,
  9 Plaintiffs relied on Harper v. Virginia Department of Taxation, 509 U.S. 86 (1993) for
 10 support. Harper announced the general rule that “[w]hen this Court applies a rule of
 11 federal law to the parties before it, that rule is the controlling interpretation of federal law
 12 and must be given full retroactive effect.” Id. at 97. This rule is of no assistance to
 13 Plaintiffs in the present context; in arguing a good faith defense to a § 1983 claim, the
 14 Union Defendants assume, without conceding, that Janus applies retroactively.
 15          The question here – one not addressed by Harper −is whether Union Defendants
 16 are precluded from asserting a good faith defense in this context, where Plaintiffs made
 17 payments for agency fees later determined to be unconstitutional. For the most part, the
 18 cases Plaintiffs cite have nothing to say about a good faith defense to a § 1983 claim.
 19 More significantly, the cases cited involve the return of discrete and identifiable property,
 20 not a refund of fees paid. See, e.g., Wyatt v. Cole, 994 F.2d 1113, 1115 (5th Cir. 1993)
 21 (involving § 1983 damages from unconstitutional seizure of cattle); Clement, 518 F.3d at
 22 1090 (involving § 1983 damages from unconstitutional seizure of vehicle); United States v.
 23 Rayburn House Office Building Room 2113 Washington DC 20515, 497 F.3d 654, 656
 24 (D.C. Cir. 2007) (ordering return of documents seized from a congressman’s office in
 25 violation of the Speech and Debate clause despite good faith reliance on search warrant).
 26 In that sense, Plaintiffs’ argument here is a refrain of their claim that the most analogous
 27 state law claim is one for conversion; a wrong for which the remedy might be replevin –
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  1 the return of the specifically stolen property. As the Court noted above, that is not the gist
  2 of this case. It cannot be overlooked that the pre-Janus regime consisted of an obligation
  3 by the Plaintiffs to pay fees to the Union Defendants, and a concomitant obligation by the
  4 Union Defendants to use those fees to bargain on Plaintiffs’ behalf. While the Supreme
  5 Court has determined that such an arrangement violated Plaintiffs’ First Amendment
  6 rights, it is not the case that the agency fees remain in a vault, to be returned like a seized
  7 automobile. As the Union Defendants cannot retract their performance on this implied
  8 contract, it would be inequitable to force them to repay Plaintiffs’ agency fees.
  9          In short, the cases before the Court present a fundamentally different issue than
 10 those cited by the Plaintiffs. The Union Defendants did not merely rely on a
 11 presumptively valid state statute; they relied on the 40-year-precedent of Abood. The
 12 Court agrees with the Honorable Judge Chhabria who noted, “there is a strong argument
 13 that when the highest judicial authority has previously deemed conduct constitutional,
 14 reversal of course by that judicial authority should never, as a categorical matter, result in
 15 retrospective monetary relief based on that conduct.” Hough, 2019 WL 1785414, at *1.
 16          Accordingly, the Court rejects all of Plaintiffs’ arguments against application of the
 17 good-faith defense. The Court agrees with every other district court to have decided this
 18 question and concludes that “[t]he good faith defense should apply here as a matter of
 19 law.” Danielson, 340 F. Supp. 3d at 1086. Thus, the Babb, Wilford, and Martin Plaintiffs’
 20 § 1983 claims are DISMISSED WITH PREJUDICE.
 21
 22      C. Voluntariness of Membership Dues (Martin)
 23
 24          As noted above, the Martin Plaintiffs were dues-paying members of their respective
 25 unions prior to Janus. They seek recovery of an amount equal to the agency fees that non-
 26 members were required to pay based on the theory that they “chose to join the union and
 27 pay the difference between full membership dues and [agency fees] that they would have
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  1 otherwise paid.” (Martin Union Opp. at 5.) Essentially, though the Martin Plaintiffs did
  2 not actually pay agency fees, they argue that such fees were subsumed within their
  3 membership dues. (Id.) Thus, “they had no choice in whether to pay the mandatory
  4 portion of the dues that was imposed on every member of their bargaining unit.” (Id.)
  5         First, because the Court concludes that the Union Defendants have a good-faith
  6 defense to retroactive monetary relief based on Janus, the Martin Plaintiffs’ claim fails as
  7 a matter of law. Further, the Court agrees with Crockett, which held that an
  8 indistinguishable claim failed. See 2019 WL 1212082, at *7. In short, the Martin
  9 Plaintiffs voluntarily chose to pay membership dues in exchange for certain benefits, and
 10 “[t]he fact that plaintiffs would not have opted to pay union membership fees if Janus had
 11 been the law at the time of their decision does not mean their decision was therefore
 12 coerced.” Id.
 13
 14      D. State Law Claims for Refund of Agency Fees (Wilford, Babb, Matthews, and
 15         Martin)
 16
 17             1. EERA Preemption
 18
 19         First, the Union Defendants argue that Plaintiffs’ state law claims for relief are
 20 preempted by the Educational Employment Relations Act (“EERA”), which “completely
 21 displaced any common law claims related to the collection of [agency fees].” (Wilford
 22 Mem. at 11–13.)
 23         The EERA expressly authorizes the collection of agency fees. Cal. Gov. Code
 24 §§3543(a), 3546(a); see Cumero v. Public Employment Relations Bd., 49 Cal. 3d 575, 587
 25 (1989) (“EERA . . . contains provisions expressly. . . allowing . . . for compulsory
 26 nonmember service fees”). Challenges to agency fees, even on constitutional grounds, are
 27 subject to the Public Employment Relations Board’s (“PERB”) exclusive jurisdiction. See
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  1 Link v. Antioch Unified School Dist., 142 Cal. App. 3d 765, 769 (1983) (“Looking beyond
  2 the constitutional label given to plaintiffs’ grievances herein, the substance of conduct
  3 complained of may also constitute unfair practices which arguably could be resolved by a
  4 PERB ruling.” (internal citation omitted)). The California Supreme Court has held that
  5 EERA broadly preempts state tort claims that allege conduct that is even “arguably
  6 protected or prohibited under EERA.” El Rancho Unified School Dist. v. Nat’l Educ.
  7 Ass’n, 33 Cal.3d 946, 960 (1983). “[W]hat matters is whether the underlying conduct on
  8 which the suit is based – however described in the complaint – may fall within PERB’s
  9 exclusive jurisdiction.” Id. at 954 n.13.
 10         In Crockett, the court found that the plaintiffs’ state law claims (indistinguishable
 11 from those asserted here) failed as a matter of law “because there can be no common law
 12 liability for conduct authorized by state statute.” 2019 WL 1212082, at *7. Crockett
 13 involved Alaska’s version of the EERA and PERB, but the Court finds Crockett’s
 14 reasoning persuasive and applicable here. “Janus does not change the fact that [the
 15 EERA] displaced any state common law tort claims that could have been brought with
 16 regard to [agency fees] collected prior to Janus.” Id. at *7. Plaintiffs argue that “statutes
 17 authorizing the collection of agency fees are to be treated as though they never existed.”
 18 (Babb Opp. at 24.) However, the Court “cannot ignore the fact that the Union Defendants’
 19 collection of [agency fees] prior to Janus was authorized by state statute that was
 20 constitutional under controlling precedent. The court cannot now go back and impose tort
 21 liability under common law for that conduct.” Crockett, 2019 WL 1212082, at *8.
 22         Plaintiffs also argue unpersuasively that EERA does not encompass their state law
 23 claims. (See Wilford Opp. at 12.) Plaintiffs argue that their state law claims require the
 24 Court to determine “the proper ownership of the money the Unions received from the
 25 Plaintiffs,” whereas “PERB would consider whether the collection of fees constituted an
 26 unfair practice, which is wholly unrelated to ownership.” (Id. at 13.) However, Link
 27 rejected this precise argument and concluded that the claims were preempted because “the
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  1 substance of conduct complained of may also constitute unfair practices which arguably
  2 could be resolved by a PERB ruling.” Link, 142 Cal. App. 3d at 769. Plaintiffs’ citations
  3 to San Lorenzo Education Association v. Wilson, 32 Cal. 3d 841 (1982) and California
  4 Association of Professional Scientists v. Schwarzenegger, 137 Cal. App. 4th 371 (2006)
  5 (“CAPS”) are inapposite and unavailing. In San Lorenzo, no preemption was found
  6 because PERB does not have jurisdiction over disputes arising from contracts between
  7 unions and public employers. See 32 Cal. 3d at 853 (“[A]t issue is whether the union,
  8 under the terms of the collective bargaining agreement, can file a civil suit against a
  9 noncomplying employee.”). In CAPS, the plaintiffs’ claim was that a state law
 10 “impermissibly conflicts with the terms of the [collective bargaining agreement] and
 11 therefore violates the state and federal constitutional prohibitions against impairing the
 12 obligations of contracts.” 137 Cal. App. 4th at 381. As the Union Defendants note, the
 13 California courts have concurrent jurisdiction with PERB over breach of collective
 14 bargaining agreement claims pursuant to California Labor Code § 1126. See Fresno
 15 Unified Sch. Dist. v. Nat'l Educ. Assn., 125 Cal. App. 3d 259, 274 (1981) (“[A]s to the
 16 contract cause of action the trial court had concurrent jurisdiction pursuant to Labor Code
 17 section 1126.”).
 18         Accordingly, the Court concludes that Plaintiffs’ common law tort claims are
 19 preempted by the EERA.
 20
 21             2. Government Code § 1159
 22
 23         Furthermore, even assuming that Plaintiffs’ claims are not preempted by the EERA,
 24 the Court concludes that Government Code § 1159 is an independent and adequate
 25 grounds upon which to dismiss Plaintiffs’ state law claims.
 26         Enacted on September 14, 2018, and effective immediately, California Government
 27 Code § 1159 provides:
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             (a) The Controller, a public employer, an employee organization, or any of their
  1
                 employees or agents, shall not be liable for, and shall have a complete defense
  2              to, any claims or actions under the law of this state for requiring, deducting,
                 receiving, or retaining agency or fair share fees from public employees, and
  3              current or former public employees shall not have standing to pursue these
  4              claims or actions, if the fees were permitted at the time under the laws of this
                 state then in force and paid, through payroll deduction or otherwise, prior to
  5              June 27, 2018.
             (b) This section shall apply to claims and actions pending on its effective date, as
  6
                 well as to claims and actions filed on or after that date.
  7          (c) The enactment of this section shall not be interpreted to create the inference that
                 any relief made unavailable by this section would otherwise be available.
  8
  9
      Cal. Gov. Code § 1159(a)–(c).
 10
             The purpose of § 1159 is explicit: “to provide certainty to public employers and
 11
      employee organizations that relied on state law, and to avoid disruption of public employee
 12
      labor relations, after the Supreme Court’s decision in [Janus].” Id. §1159(e)(2). Further,
 13
      § 1159 declares that “[a]pplication of this section to pending claims and actions clarifies
 14
      existing state law rather than changes it.” Id. § 1159(e)(1). “Public employees who paid
 15
      agency or fair share fees as a condition of public employment in accordance with state law
 16
      and Supreme Court precedent prior to June 27, 2018, had no legitimate expectation of
 17
      receiving that money under any available cause of action.” Id. Thus, “[a]pplication of this
 18
      section to pending claims will preserve, rather than interfere with, important reliance
 19
      interests.” Id.
 20
             Because § 1159 clearly precludes their state law claims for relief, Plaintiffs argue
 21
      primarily that it is unconstitutional in that its retroactive application violates their due
 22
      process rights. (See Wilford Opp. at 18.) Plaintiffs also briefly argue that § 1159
 23
      effectuates an unlawful taking; violates the California Constitution’s single-subject rule;
 24
      and violates the “separation of powers” doctrine. (See Plaintiffs’ Opp. to AG at 14–17.)
 25
      The Court addresses each issue below.
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 27
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  1               i.   Due Process
  2
  3          In both federal and California due process analysis, the threshold question in
  4 determining retroactive application is whether the legislation changed or clarified the law.
  5 See McClung v. Emp’t Dev. Dept., 34 Cal. 4th 467, 471 (2004); Beverly Community Hosp.
  6 Ass’n v. Belshe, 132 F.3d 1259, 1265 (9th Cir. 1997). “A statute that merely clarifies,
  7 rather than changes, existing law does not operate retrospectively even if applied to
  8 transactions predating its enactment because the true meaning of the statute remains the
  9 same.” McClung, 34 Cal. 4th at 471 (internal alterations and quotations removed); see
 10 also Beverly, 132 F. 3d at 1265 (explaining that whether statute clarifies or changes the
 11 law is a “key threshold issue” and that there would be retroactive application issues only if
 12 the statute changed the law).
 13          Here, the California legislature was explicit that § 1159 “clarifies existing state law
 14 rather than changes it,” because “[p]ublic employees who paid agency or fair share fees as
 15 a condition of public employment in accordance with state law and Supreme Court
 16 precedent prior to [Janus], had no legitimate expectation of receiving that money under
 17 any available cause of action.” § 1159(e)(1). As the Union Defendants note, at the time
 18 agency fees were collected, the Unions could not be held liable under any state law theory
 19 for collection of such fees, and § 1159 merely reinforces this point. (Wilford Reply at 12.)
 20 “A clarified law is simply a statement of what the law has always been.” In re Marriage of
 21 Walker, 138 Cal. App. 4th 1408, 1426 (2006). Further, although “a legislative declaration
 22 of an existing statute’s meaning is neither binding nor conclusive on the courts in
 23 construing the statute,” the Court may give “due consideration to the Legislature’s views.”
 24 Id.; see also Beverly, 132 F.3d 1265–66 (deferring to legislature’s description of legislation
 25 as a “clarification”). In response, Plaintiffs argue that, if it were true that § 1159 merely
 26 clarified the law and they could not pursue their state law claims even in its absence,
 27 § 1159 is “superfluous.” (See Wilford Opp. at 19.) However, clarifying statutes can be
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  1 “remedial in nature and intended by the Legislature to be applied at the earliest possible
  2 time, including application to all cases not then finally decided.” City of Redlands v.
  3 Sorensen, 176 Cal. App. 3d 202, 212 (1985).
  4          Thus, the Court concludes that §1159 merely clarifies rather than changes the law.
  5 However, even assuming that § 1159 changes the law, Plaintiffs’ procedural and
  6 substantive due process arguments fail under California and federal law, as discussed
  7 below.
  8
  9                               a. State and Federal Procedural Due Process
 10
 11          Under both the federal and state constitutions, when a law “creates a substantive
 12 rule of law granting immunity to certain parties against certain types of claims . . . ‘the
 13 legislative determination provides all the process that is due.’” Illeto v. Glock, Inc., 565
 14 F.3d 1126, 1142 (9th Cir. 2009) (citing Logan v. Zimmerman Brush Co., 455 U.S. 422,
 15 433 (1982)); see also Jenkins v. County of L.A., 74 Cal. App. 4th 524, 537 (1999)
 16 (rejecting federal and state due process challenges to retroactive application of a statute
 17 barring certain negligence claims and explaining that “the legislative determination
 18 provides all the process that is due” (quoting Logan, 455 U.S. at 433)). Plaintiffs argue
 19 against the application of Illeto to no avail. They rely on Logan and related California
 20 cases to argue that “a plaintiff must be given some opportunity to present her claim.
 21 Section 1159 violates this principle by purporting to cut off Plaintiffs’ rights of action with
 22 no opportunity to present them.” (Wilford Opp. at 23.)
 23          However, Logan and the California cases upon which Plaintiffs rely involved
 24 changing the procedures through which a plaintiff could pursue his or her claims, not
 25 creating a substantive rule of law granting immunity to certain parties against certain types
 26 of claims, as is the case here. For example, Logan examined whether a change in a state
 27 administrative agency’s procedures comported with due process. As Illeto noted, Logan
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  1 “explicitly limited its holding to ‘a procedural limitation on the claimant’s ability to assert
  2 his rights, not a substantive element of the [underlying] claim.’” Illeto, 565 F.3d at 1142
  3 (quoting Logan, 455 U.S. at 433) (alteration in original). Indeed, Logan noted that “the
  4 State remains free to create substantive defenses or immunities for use in adjudication—or
  5 to eliminate its statutorily created causes of action altogether,” and in such cases “the
  6 legislative determination provides all the process that is due.” Logan, 455 U.S. at 432–
  7 33. 12 Here, if § 1159 changes the law, it grants the Union Defendants immunity from all
  8 state law causes of action related to agency fee collection, and the California legislature’s
  9 determination “provides all the process that is due.” Illeto, 565 F.3d at 1142.
 10
 11                                    b. State Substantive Due Process
 12
 13             Plaintiffs’ state substantive due process argument also fails. Under the California
 14 constitution, the legislature “can provide for retroactive application of a statute if it has a
 15 reasonable basis for doing so.” L.A. Cty. v. Superior Court, 62 Cal. 2d 839, 844 (1965).
 16 “In determining whether a retroactive law contravenes the due process clause, we consider
 17 such factors as the significance of the state interest served by the law, the importance of
 18 the retroactive application of the law to the effectuation of that interest, the extent of
 19 reliance upon the former law, the legitimacy of that reliance, the extent of actions taken on
 20 the basis of that reliance, and the extent to which the retroactive application of the new law
 21 would disrupt those actions.” In re Marriage of Bouquet, 16 Cal. 3d 583, 592 (1976). The
 22
          12
               Plaintiffs also argue, based on Callet v. Alioto, 210 Cal. 65 (1930), that Illeto does not apply
 23 because it involved statutory causes of action instead of common law causes of action, such as
 24 those asserted by Plaintiffs here. (See Wilford Opp. at 20.) First, while Callet did distinguish
      between statutory and common law causes of action, the California Supreme Court has since
 25 rejected this proposition, concluding that there is “no constitutional basis for distinguishing
      statutory from common-law rights merely because of their origin.” See L.A. Cty. v. Superior
 26 Court, 62 Cal.2d 839, 844 (1965). Further, Plaintiffs are simply wrong about Illeto, as it upheld a
      law “intended to preempt common-law claims, such as general tort theories of liability.” 565 F.3d
 27 at 1135.
 28
                                                          27
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  1 Court concludes that the California legislature had a reasonable basis for retroactively
  2 applying § 1159 to bar Plaintiffs’ claims. First, Plaintiffs’ reliance interest is minimal in
  3 that Abood would have prevented them from any recovery of agency fees prior to Janus.
  4 Further, § 1159 serves the significant state interests of providing “certainty to public
  5 employers and employee organizations that relied on state law, and [avoiding] disruption
  6 of public employee labor relations” after Janus. See Cal. Gov. Code §1159(e)(2). As
  7 noted throughout, the Court finds the Union Defendants’ reliance on Abood reasonable and
  8 in good faith, and § 1159 seeks to protect these reliance interests. Further, the lawsuits that
  9 Section 1159 bars – including those currently before the Court– seek to impose massive
 10 retroactive liability on public employers and unions that relied on state law, which would
 11 certainly disrupt public employee labor relations.
 12
 13                                c. Federal Substantive Due Process
 14
 15          Finally, Plaintiffs’ federal substantive due process argument fails. “Where, as here,
 16 Congress has expressed its clear intent that the legislation be retroactive, ‘the constitutional
 17 impediments to retroactive civil legislation are now modest.’” Illeto, 565 F.3d at 1138
 18 (quoting Landgraf v. USI Film Prods., 511 U.S. 244, 272 (1994)). “[T]he potential
 19 unfairness of retroactive civil legislation is not a sufficient reason for a court to fail to give
 20 a statute its intended scope.” Landgraf, 511 U.S. at 267. “We have squarely held that
 21 although a cause of action is a species of property, a party’s property right in any cause of
 22 action does not vest until a final unreviewable judgment is obtained.” Illeto, 565 F.3d at
 23 1141. Here, Plaintiffs’ claims have not vested because they have not obtained final
 24 judgments. Thus, § 1159 is subject to rational basis review and its retroactive application
 25 must be upheld so long as the California legislature’s decision was not “irrational or
 26 arbitrary.” See id. at 1140. For the reasons discussed in relation to the California
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  1 substantive due process argument, the Court concludes that retroactively applying § 1159
  2 is neither arbitrary nor irrational.
  3
  4               ii.   Other Constitutional Challenges
  5
  6          Plaintiffs’ Fifth Amendment Takings Clause argument is foreclosed by Illeto. As
  7 noted above, because Plaintiffs have not obtained a final unreviewable judgment, their
  8 rights in their causes of action have not vested and “[t]he Fifth Amendment’s Takings
  9 Clause prevents the Legislature (and other government actors) from depriving private
 10 persons of vested property rights.” See Illeto, 565 F.3d at 1141 (quoting Landgraf, 511
 11 U.S. at 266) (emphasis in original)).
 12          Plaintiffs also argue that Senate Bill 846, which added § 1159 to the Government
 13 Code, violates the single subject rule of the California Constitution, which provides that
 14 “[a] statute shall embrace but one subject, which shall be expressed in its title.” Cal.
 15 Const., art. IV, § 9. “‘[A]n initiative measure does not violate the single-subject
 16 requirement if, despite its varied collateral effects, all of its parts are ‘reasonably germane’
 17 to each other,’ and to the general purpose or object of the initiative.” Brosnahan v. Brown,
 18 32 Cal. 3d 236, 245 (1982) (quoting Amador Valley Joint Union High Sch. Dist. v. State
 19 Bd. Of Equalization, 22 Cal. 3d 208, 230 (1978)). “[T]he single subject rule is to be
 20 ‘construed liberally,’” and “[n]umerous provisions, having one general object, if fairly
 21 indicated in the title, may be united in one act.” Id. Here, the title of Senate Bill 846 is
 22 “Employment.” Section 1159 and the rest of the sections identified by Plaintiffs (Plaintiffs
 23 Opp. to AG at 16) are “reasonably germane” to employment. Accordingly, the Court
 24 concludes that Senate Bill 846 does not violate the single-subject rule.
 25          Finally, Plaintiffs argue that § 1159 “violates the separation-of-powers doctrine.”
 26 (Plaintiffs’ Opp. to AG at 17.) Plaintiffs argue that § 1159 “effectively denies Plaintiffs a
 27 judicial forum to assert their state-law claims,” and “[f]or the reasons stated in In re
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  1 National Sec. Agency Telecomm. Records Litig., 671 F.3d 881, 899 (9th Cir. 2011), this
  2 violates the separation-of-powers doctrine.” (Id.) In re Nat’l Sec. Agency, however, states
  3 that separation of powers concerns would be raised if “faced with a situation in which
  4 Congress has enacted legislation and simultaneously declared that legislation to be
  5 immune from any constitutional challenge by the plaintiff.” In re Nat’l Sec. Agency, 671
  6 F.3d at 889 (quoting Bartlett v. Bowen, 816 F.2d 695, 703 (D.C. Cir. 1987)). Section 1159
  7 does no such thing, and thus In re Nat’l Sec. Agency is irrelevant to Plaintiffs’ claims.
  8 Thus, the Court concludes that § 1159 does not violate the separation-of-powers doctrine.
  9           Accordingly, the Court concludes that § 1159 is constitutional and bars all of
 10 Plaintiffs’ state law causes of action. Thus, the Court GRANTS the Motions to Dismiss
 11 and DISMISSES WITH PREJUDICE Plaintiffs’ state law causes of action. 13
 12
 13      E. Constitutionality of California Government Code § 3558 (Martin)
 14
 15           The Martin Plaintiffs argue that California Government Code § 3558 violates the
 16 First Amendment or alternatively that it violates state tort law and their state and federal
 17 constitutional rights to privacy. Section 3558 provides that public school districts must
 18 provide unions that serve as exclusive representatives of bargaining units with:
 19
              the name, job title, department, work location, work, home, and personal cellular
 20
              telephone numbers, personal email addresses on file with the employer, and home
 21           address of any newly hired employee within 30 days of the date of hire or by the
              first pay period of the month following hire, and . . . with a list of that information
 22
 23
         13
 24       The Matthews Plaintiffs’ UCL claim is also barred by § 1159’s broad language. See § 1159
    (applying to “any claims or actions under the law of this state”). Furthermore, even if it were not
 25 barred by § 1159, the UCL claim fails because the Union Defendants are not a “business” and
    collecting agency fees in compliance with state law is not a “business act or practice.” See That v.
 26 Alders Maintenance Ass’n, 206 Cal. App. 4th 1419, 1427 (2012) (holding that homeowners’
    association was not subject to a UCL claim because it “does not participate as a business in the
 27 commercial market, much less compete in it”).
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               for all employees in the bargaining unit at least every 120 days unless more
  1
               frequent or more detailed lists are required by an agreement with [the union].
  2
  3 Cal. Gov. Code § 3558. An employee may opt out of having such information shared with
  4 the union. See id.; see also § 6254.3.
  5            As the Union Defendants explain, § 3558 codifies the California Supreme Court’s
  6 decision in County of Los Angeles v. L.A. County Employee Relations Committee, 56 Cal.
  7 4th 905 (2013), which held that disclosure of public employees’ contact information to a
  8 union does not violate their privacy rights under California’s constitution. Id. at 931–32;
  9 see also § 3558 (“The provision of information under this section shall be consistent with
 10 the employee privacy requirements described in County of Los Angeles v. Los Angeles
 11 County Employee Relations Com. (2013) 56 Cal.4th 905.”) There, the Court explained
 12 that “[b]ecause the union’s duty [of fair representation] extends to all employees in the
 13 bargaining unit, regardless of union membership, the union must have the means of
 14 communicating with all employees.” County of L.A., 56 Cal. 4th at 931. Thus, “[d]irect
 15 communication between unions and all bargaining unit employees is essential to ensure
 16 that nonmembers’ opinions are heard.” Id. Further, the court found that giving the unions
 17 “this contact information will not coerce employees into joining the union. An employee
 18 who chooses not to join a union still enjoys the benefits of union representation.” Id.
 19       The Union Defendants argue that § 3558 does not violate the First Amendment.
 20 (Id. at 25.) 14 Plaintiffs allege that §3558 amounts to a “compelled disclosure,” to which
 21 the Supreme Court applies “exacting scrutiny.” (See Babb First Amended Complaint ¶
 22 51.) “At least in the context of organized labor, the impingement of First Amendment
 23
 24      14
              The Union Defendants also argue that the Martin Plaintiffs lack standing to challenge §
 25 3558 because their respective unions already have their contact information pursuant to § 3558.
      (Martin Union Mem. at 23.) However, the harm that Plaintiffs identify is the fact that they were
 26 allegedly compelled to share the information, and thus the fact that the unions already have such
      information does not deprive Plaintiffs of standing.
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  1 rights must, at a minimum, satisfy ‘exacting scrutiny’; i.e., it must ‘serve a compelling
  2 state interest that cannot be achieved through means significantly less restrictive of
  3 associational freedoms.’” 15 Mentele v. Inslee, 916 F.3d 783, 790 (9th Cir. 2019) (quoting
  4 Janus, 138 S. Ct. at 2465.)
  5            The Union Defendants argue that § 3558 “does not infringe on Plaintiffs’ First
  6 Amendment rights—and is not subject to exacting scrutiny—because the content-neutral
  7 contact information that is disclosed under the statute (unless Plaintiffs opt out) reveals
  8 nothing about their associations and beliefs.” (Martin Union Mem. at 25.) Indeed, as the
  9 Union Defendants note and Plaintiffs impliedly concede (see Martin Union Opp. at 26–
 10 27), every compelled-disclosure case in which the Supreme Court applied exacting
 11 scrutiny involved disclosure of information that linked individuals to a cause, an
 12 association, or political activity, or identified the individuals’ political beliefs. For
 13 example, in NAACP v. Alabama, 357 U.S. 449, 462–63 (1958), the Court held that
 14 compelled disclosure of NAACP membership was subject to exacting scrutiny. 16 The
 15 Court focused on the harm stemming from “compelled disclosure of affiliation with groups
 16 engaged in advocacy.” Id. at 462 (emphasis added). “Inviolability of privacy in group
 17 association may in many circumstances be indispensable to preservation of freedom of
 18 association, particularly where a group espouses dissident beliefs.” Id. (emphasis added).
 19
         15
 20          The Union Defendants rely on the less-stringent exacting scrutiny standard articulated by the
      Supreme Court in John Doe No. 1 v. Reed, 561 U.S. 186, 196 (2010), requiring only a “substantial
 21   relation between the disclosure requirement and a sufficiently important governmental interest.”
      Although this less-stringent standard is typically applied in compelled disclosure cases and has
 22   been applied by the Ninth Circuit as recently as last year, see Ams. For Prosperity Found v.
      Becerra, 903 F.3d 1000, 1008 (9th Cir. 2018), Mentele suggested that “in the context of organized
 23   labor,” the more stringent standard applies. See Mentele, 916 F.3d at 790. Here, which version of
 24   exacting scrutiny is applied has no bearing on the outcome, as the Court concludes that § 3558
      withstands the more stringent standard articulated in Mentele.
 25
         16
              See also Buckley v. Valeo, 424 U.S. 1, 66 (1976) (disclosed financial transactions with
 26 political candidate or party would “reveal much about a person’s activities, associations, and
      beliefs”) (internal quotation marks omitted); John Doe No. 1, 561 U.S.at 194–96 (individual’s
 27 signature on petition would disclose his views on statute concerning gay rights).
 28
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  1 The disclosures here are not disclosures of membership or affiliation, but rather of
  2 employees’ contact information, which reveals nothing about the employees’ beliefs or
  3 political views. Plaintiffs cite to no authority providing that content-neutral disclosures
  4 such as those required by § 3558 are subject to exacting scrutiny. Plaintiffs argue that
  5 § 3558 “will have the undeniable effect of deterring those employees from engaging in
  6 anti-union speech.” (See Martin Union Opp. at 27.) Plaintiffs allege no facts to support
  7 this claim, and further, it is illegal for the Union Defendants to discriminate against
  8 employees for not joining their respective unions. See Cal. Gov. Code §3543.6(b).
  9         However, even assuming that exacting scrutiny applies, the Court concludes that
 10 § 3558 survives such scrutiny. Section 3558 serves a compelling government interest. As
 11 the California Supreme Court noted in County of L.A., the Union Defendants have an
 12 obligation to communicate with members and non-members pursuant to their duty of
 13 representation, so the Union Defendants “must have the means of communicating with all
 14 employees.” County of L.A., 56 Cal. 4th at 931. This “[d]irect communication between
 15 unions and all bargaining unit employees is essential to ensure that nonmembers’ opinions
 16 are heard.” Id. (emphasis added). Thus, California has a compelling interest in ensuring
 17 that unions can communicate directly with employees.
 18         Further, the Court concludes that this interest cannot be achieved through means
 19 significantly less restrictive of associational freedoms. The Union Defendants must be
 20 able to communicate directly with all employees, and access to employee contact
 21 information is “fundamental to the entire expanse of a union’s relationship with the
 22 employees,” permitting the union to “perform its broad range of statutory duties in a truly
 23 representative fashion and in harmony with the employees’ desires and interests.” NLRB
 24 v. CJC Holdings, Inc., 97 F.3d 114, 117 (5th Cir. 1996). Plaintiffs quibble that the
 25 disclosures are too broad because they include employees’ personal addresses and phone
 26 numbers. (Martin Union Opp. at 25–26.) However, the Union Defendants must be able to
 27 communicate directly with all employees and having employees’ personal information
 28
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  1 furthers this interest. Further, in the context of heated negotiations with school districts,
  2 the Union Defendants need a method to communicate with employees outside of work.
  3 Moreover, any associational freedom restriction presented by § 3558 is significantly
  4 minimized by the fact that employees can opt out of the disclosures.
  5         Accordingly, the Court concludes that § 3558 does not violate the Martin Plaintiffs’
  6 First Amendment rights. The Martin Plaintiffs admit that their “privacy-tort claims cannot
  7 survive unless this Court concludes that section 3558 violates the federal Constitution.”
  8 (Martin Union Opp. at 30.) Furthermore, Plaintiffs’ claim for violation of California’s
  9 right to privacy also fails because § 3558 merely codifies the California Supreme Court’s
 10 ruling in County of L.A. Finally, Plaintiffs’ claim for violation of federal privacy rights
 11 fails because “the scope and application of the [California] state constitutional right of
 12 privacy is broader and more protective of privacy than the federal constitutional right of
 13 privacy as interpreted by the federal courts.” Am. Acad. of Pediatrics v. Lungren, 16 Cal.
 14 4th 307, 326 (1997). Thus, the Court GRANTS the Union Defendants’ Motion and
 15 DISMISSES WITH PREJUDICE Plaintiffs’ claim challenging the constitutionality of
 16 § 3558.
 17
 18      F. Constitutionality of California Education Code § 45060 (Martin)
 19
 20         The Union Defendants argue that Plaintiff Martin lacks standing to challenge
 21 California Education Code § 45060 and, even if he did not, § 45060 does not violate his
 22 First Amendment rights. (Martin Union Mem. at 30–31.)
 23         Education Code § 45060 provides, in relevant part:
 24
            Employee requests to cancel or change authorizations for payroll deductions
 25
            for employee organizations shall be directed to the employee organization rather
 26         than to the governing board. The employee organization shall be responsible for
            processing these requests.
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 28
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  1 Cal. Educ. Code § 45060(e). Further, § 45060 requires school employees to revoke their
  2 consent to payroll deductions “in writing.” Id. §§ 45060(a),(c).
  3         Martin alleges that §45060 violates his First Amendment rights for two reasons: (1)
  4 it requires him to direct his request to cancel membership dues deductions to the union,
  5 rather than to his employer; and (2) it requires such requests to be in writing. (Martin First
  6 Amendment Complaint ¶¶ 58, 60–62.) Citing to Janus, Martin alleges that “[e]very public
  7 employer and every public-employee union must honor and implement the wishes of an
  8 employee who has withdrawn his ‘affirmative consent’ to union fees or assessments—
  9 regardless of how a public employee chooses to communicate his instructions.” (Id. ¶ 57.)
 10 On July 6, 2018, Martin sent an email to his employer, Riverside Unified School district,
 11 asking that all union-related payroll deductions cease. (Id. ¶ 60.) However, Martin claims
 12 that § 45060(e) “instructs the school district to continue diverting [his] paycheck toward
 13 the union—in violation of Janus and in violation of [his] First Amendment rights—
 14 because [he] chose to submit his e-mail directly to school officials rather than asking the
 15 union to take care of matters.” (Id. ¶ 61.)
 16         The Union Defendants argue that Martin does not have standing to challenge
 17 § 45060 because his request to cancel membership dues deductions has been processed.
 18 (See Martin Union Mem. at 31; Scott Decl. ¶¶ 3–8, Doc. 61-10.) Indeed, while the Union
 19 Defendants did not receive Martin’s email, upon receipt of the Complaint on July 23,
 20 2018, the Union Defendants wrote Martin a letter explaining that Riverside Unified did not
 21 have the authority to terminate the union membership of its employees. (See Scott Decl. ¶
 22 4.) On August 3, 2018, the Union Defendants informed Martin that they would consider
 23 this lawsuit a request to resign his membership and that he would be considered terminated
 24 as of July 23, 2018. (Id. ¶ 5.) Though this was fifteen days after Martin sent the email to
 25 Riverside Unified, the lapse is irrelevant because “dues deductions would have already
 26 ceased for the year as of June 30, and no further deductions were scheduled to be made in
 27 July.” (Id. ¶ 7.)
 28
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  1         In response, Martin argues that the Union Defendants are attempting to moot his
  2 claims by voluntarily deciding to halt payroll deductions after he sued. (Martin Union
  3 Opp. at 32.) Further, Martin argues that his claim is not moot “because California law
  4 requires the school district and the union to continue taking membership dues from Mr.
  5 Martin’s paycheck—notwithstanding his resignation from membership—until Mr. Martin
  6 submits a request to the union ‘in writing’ that revokes his previous authorization for
  7 payroll deductions.” (Id.)
  8         Here, it appears that Martin’s claim is moot. “A case becomes moot—and therefore
  9 no longer a ‘Case’ or ‘Controversy’ for purposes of Article III—when the issues presented
 10 are no longer live or the parties lack a legally cognizable interest in the outcome.” Yohn,
 11 2018 WL 5264076, at *2 (quoting Rosebrock v. Mathis, 745 F.3d 963, 971 (9th Cir.
 12 2014)). Martin has resigned from his union and it is “absolutely clear that the allegedly
 13 wrongful behavior could not reasonably be expected to recur.” Id. Indeed, Martin would
 14 have to rejoin his union for his claim to be live, which, given his representations in this
 15 lawsuit, seems a remote possibility. Further, as the Union Defendants note, Martin has
 16 suffered no damages because of the fifteen-day delay in the processing of his resignation,
 17 and Martin does not allege otherwise. Moreover, there is no basis for Martin’s contention
 18 that the Union Defendants are “required” to continue to deduct dues from his paycheck,
 19 nor does he allege that they are doing so.
 20         However, even assuming that Martin’s claim is not moot, the Court concludes that
 21 his claim fails as a matter of law. Section 45060, on its face, does not violate the First
 22 Amendment. Contrary to Martin’s contention, Janus does not hold that employees have
 23 the right to resign from a union however they want, regardless of state laws that prescribe
 24 clear, common-sense procedures for doing so. Submitting a writing to the Union
 25 Defendants to halt payroll deductions is not a burdensome requirement. Because the
 26 deductions go to the Union Defendants, it makes sense that the halting of such deductions
 27 must be communicated to the Union Defendants rather than the school districts.
 28
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  1 Moreover, as the Union Defendants note, “[m]ost actions of legal significance, including
  2 registering to vote, voting itself, filing court papers, and the like, must be done in writing.”
  3 (Martin Union Reply at 13.)
  4          Accordingly, the Court GRANTS the Union Defendants’ Motion to Dismiss and
  5 DISMISSES Martin’s claim WITH PREJUDICE.
  6
  7      G. Antitrust Claim (Martin)
  8
  9          The Union Defendants next argue that Martin’s antitrust claim fails. The Crockett
 10 court dismissed an indistinguishable claim with prejudice and the Court finds Crockett’s
 11 reasoning persuasive and applicable here. See Crockett, 2019 WL 1212082, at *8–9.
 12          As in Crockett, Martin’s antitrust theory is that collective bargaining agreements
 13 stemming from California’s exclusive representation system are anti-competitive because
 14 they “require compensation based on union-imposed pay scales and prevent individual
 15 employees from negotiating compensation based on individual performance and merits.”
 16 Id. at *8; see Martin First Amended Complaint ¶¶ 75–76.) The Court agrees with Crockett
 17 that “[f]ederal antitrust law, which seeks to preserve competition in the private sector,
 18 simply does not encompass the way in which a state chooses to set employment terms for
 19 its public employees.” 2019 WL 1212082, at *8.
 20          More specifically, the state-action doctrine immunizes the Union Defendants from
 21 antitrust liability because federal antitrust laws do not “restrain a state or its officers or
 22 agents from activities directed by its legislature.” Parker v. Brown, 317 U.S. 341, 350–51
 23 (1943). To establish state-action immunity, “the challenged restraint . . . [must] be one
 24 clearly articulated and affirmatively expressed as state policy. . . [and] be actively
 25 supervised by the State.” N.C. State Bd. of Dental Exam'rs v. FTC, 135 S. Ct. 1101, 1110
 26 (2015). Martin argues that the Union Defendants cannot avail themselves of state-action
 27 immunity because he is challenging the actual terms of the collective bargaining
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  1 agreements, not “the overall enterprise of collective bargaining.” (Martin Union Opp. at
  2 38.) Thus, Martin claims that the Union Defendants must show that the specific provisions
  3 he challenges have been “clearly articulated and affirmatively expressed as state policy.”
  4 (Id.) However, “it is indisputable that the challenged restraint—a collective bargaining
  5 agreement negotiated by a representative union—is ‘clearly articulated and affirmatively
  6 expressed as state policy.’” Crockett, 2019 WL 1212082, at *9. Martin further argues that
  7 nothing in his First Amended Complaint acknowledges “active supervision” by the state,
  8 so this issue cannot be resolved on a motion to dismiss. (Martin Union Opp. at 38.) “The
  9 active supervision requirement, however, is inapplicable here because the other party to the
 10 challenged collective bargaining agreement is [a public-school district].” Crockett, 2019
 11 WL 1212082, at *9. “Unlike private parties, local government entities are not subject to
 12 the ‘active state supervision requirement’ because they have less of an incentive to pursue
 13 their own self-interest under the guise of implementing state policies.” Id. (quoting FTC v.
 14 Phoebe Putney Health Sys. Inc., 568 U.S. 216, 226 (2013) (alterations omitted)).
 15         Further, “[t]he labor of a human being is not a commodity or article of commerce.”
 16 15 U.S.C. §17. “Therefore, ‘restraints on the sale of the employee’s services to the
 17 employer’—those employment terms set forth in a collective bargaining agreement—‘are
 18 not themselves combinations or conspiracies in the restraint of trade or commerce under
 19 the Sherman Act’ even if they ‘curtail the competition among employees.’” Crockett,
 20 2019 WL 1212082, at *9 (quoting Apex Hosiery Co. v. Leader, 310 U.S. 469, 503 (1940));
 21 see also Bodine Produce, Inc. v. U.F.W. Organizing Comm., 494 F.2d 541, 558 (9th Cir.
 22 1974) (rejecting interpretation of labor exemption that “would invalidate collective
 23 bargaining”).
 24         Finally, the Noerr-Pennington doctrine – by which efforts to convince the
 25 government to act in an anticompetitive manner are protected by the First Amendment –
 26 also bars Martin’s antitrust claim. “Federal antitrust law . . . does not ‘regulate the conduct
 27 of private individuals in seeking anticompetitive action from the government.’” Crockett,
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  1 2019 WL 1212082, at *10 (quoting City of Columbia v. Omni Outdoor Adver., Inc., 499
  2 U.S. 365, 379–80 (1991)).
  3            Accordingly, the Court GRANTS the Union Defendants’ Motion to Dismiss and
  4 DISMISSES WITH PREJUDICE Martin’s antitrust claim.
  5
  6      H. Constitutionality of Exclusive Representation (Few)
  7
  8            Finally, United Teachers Los Angeles argues that Plaintiff Few’s claim that
  9 California’s exclusive representation system violates the First Amendment is foreclosed by
 10 the Supreme Court’s decision in Minnesota State Board for Community Colleges v. Knight,
 11 465 U.S. 271 (1984). Indeed, the Martin Plaintiffs concede that their identical claim is
 12 barred by Knight. (See Martin Union Opp. at 35.)
 13            In Knight, the Supreme Court held that a system of exclusive union representation
 14 does not violate the speech or associational rights of individuals who are not members of
 15 the union. Knight, 465 U.S. at 271. As Crockett noted in relation to a claim identical to
 16 Few’s, 17 Janus essentially reaffirmed Knight because it distinguished between financial
 17 support for a union and the “underlying system of exclusive representation.” Crockett,
 18 2019 WL 1212082, at *8 (citing Janus, 138 S. Ct. at 2465–67.) Indeed, Janus explicitly
 19 noted that “[s]tates can keep their labor-relations systems exactly as they are—only they
 20 cannot force nonmembers to subsidize public-sector unions.” Janus, 138 S. Ct. at 2485
 21 n.27. Moreover, the Ninth Circuit recently reaffirmed Knight’s validity in the wake of
 22 Janus. See Mentele, 916 F.3d at 788. Few attempts to distinguish Mentele on the basis
 23 that it holds that Knight “continues to apply” only to “partial” state employees, rather than
 24 full-fledged public employees such as himself. (Few Opp. at 12.) Mentele’s analysis of
 25 the impact of exclusive representation on non-member’s associational rights contains no
 26
         17
              Just like the Martin Plaintiffs, the plaintiff in Crockett conceded that her claim was
 27 foreclosed by Knight. See Crockett, 2019 WL 1212082, at *8.
 28
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  1 such limitation, however, and was based entirely on Knight’s analysis, which involved
  2 full-fledged public employees. See Mentele, 916 F.3d at 788–90.
  3         Accordingly, the Court GRANTS United Teachers Los Angeles’ Motion to Dismiss
  4 and DISMISSES Few’s exclusive representation claim WITH PREJUDICE.
  5
  6      IV.CONCLUSION
  7
  8         For the foregoing reasons, the Court GRANTS all of the Motions to dismiss
  9 currently before it. As a result, this Order completely disposes of Babb, Wilford, and
 10 Matthews, and the Defendants in each case must submit a judgment to the Court no later
 11 than five (5) days from the date of this Order. In Few, Few’s first claim for relief remains,
 12 and in Martin, Plaintiffs’ second claim for relief remains.
 13
 14
 15 DATED: May 08, 2019
                                                       JOSEPHINE L. STATON
 16
                                                       UNITED STATES DISTRICT JUDGE
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